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5
     Attorney for Zu Dong Luo
6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                 ) CR S 08-543 GEB
                                               )
10           Plaintiff,                        ) STIPULATION AND PROPOSED
                                               ) ORDER CONTINUING CHANGE OF
11      v.                                     ) PLEA
                                               ) (July 10, 2009 before
12   ZU DONG LUO                               ) Judge Burrell)
             Defendant                      )
13   ______________________________            )
14
15   This matter is now set for change of plea on July 10, 2009.
16   Because the parties need more time to complete the plea agreement
17   and because the Chinese interpreter is not available to assist in
18   the change of plea until next week, it is STIPULATED that the
19   matter be continued until July 17, 2009 at 9:00 AM and the parties
20   request the Court so order with time under the speedy trial act
21   excluded for counsel preparation (Local Code T4).
22   Dated July 8, 2009
23
24      /s/ MICHAEL M. BECKWITH                     /s/ J TONEY
25           Michael M. Beckwith                       J. Toney
26
27   Assistant U.S. Attorney                       Attorney for Defendant
28                                         1
       Case 2:08-cr-00543-KJM Document 109 Filed 07/10/09 Page 2 of 2


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2
3    SO ORDERED:
4    Dated:   July 9, 2009
5
6                                    GARLAND E. BURRELL, JR.
7                                    United States District Judge

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